    Case 3:10-cr-03209-DMS                            Document 410                 Filed 07/21/16              PageID.1094          Page 1 of 2


     ~o 245D (CASD)      (Rev. 4114) Judgment in a Criminal Case for Revocations
               Sheet 1                                                                                                         FI-LED
                                               UNITED STATES DISTRICT COUR iT'                                                 JUL 21 2016
                                                                                                                         CLERK   J;ff~ THICT COURT
                                                     SOUTHERN DISTRICT OF CALIFORNIA                                SOUTHER~ DIS     •  T OF CAl'~frNIA.
                                                                                                                    BY                           D PUTY.
                   UNITED STATES OF AMERICA
                                          v.
                                                                                    JUDGMENT IN A CRIMINAL CA                          ~
                                                                                     (For Revocation of Probation or Supervised Release)
                         GIOVANNI BAHRI (4)                                          (For Offenses Committed On or After November I, 1987)


                                                                                     Case Number: IOCR3209-DMS

                                                                                     Carson P Baucher FD
                                                                                     Defendant's At10mey
    REGISTRATION No. 20012298

D
    THE DEFENDANT:
     o  admitted guilt to violation of allegation(s) No . _2::::,,,I~I,,-,.!.13::..::an~d:!...!.:15,-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     D was found in violation of aUegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):


    Allegation Number              Nature ofViolatioD
            2         Committed a federal, state or local offense (nvl)
            II        Unlawful use of controlled substance (nv3)
            13        Failure to be truthful andlor follow instructions (nv8)
            IS        Failure to report change in residence/employment (nvll)




      Supervised Release       is revoked and the defendant is sentenced as provided in pages 2 through                    2       of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notifY the court and UnIted States Attorney of any material change in the
    defendant's economic circumstances.

                                                                                     JULY 21, 2016
                                                                                    Date ofImposition of Sentence




                                                                                     HON. DANA M. SABRAW
                                                                                     UNITED STATES DISTRICT JUDGE




                                                                                                                                      IOCR3209-DMS
    •
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•
    AO 245D (CASD) (Rev. 4114) Judgment in a Criminal Case for Revocations
               Sheet 2 -Imprisonment

                                                                                                    Judgment - Page _...;;.2_ of    2
        DEFENDANT: GIOVANNI BABRI (4)
        CASE NUMBER: IOCR3209-DMS
                                                                     IMPRISONMENT
               The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
               FIVE (5) MONTHS, consecutive to sentence in State of Califomi a, San Diego County Superior Court (South County
               Division) Case Nos. CS283947 and CS285400.




           181 The court makes the following recommendations to the Bureau of Prisons:
               Defendant be designated to a facility as close as possible to San Diego CA.




           o   The defendant is remanded to the custody of the United States Marshal.

           o   The defendant shall surrender to the United States Marshal for this district:
                 Oat                                      Oa.m.          Op·m.    on _ _ _ _ _ _ _ _ _ __

                    as notified by the United States Marshal.

           o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                o before ------------------------------------------------
                o as notified by the United States Marshal.
                D as notified by the Probation or Pretrial Services Office.

                                                                             RETURN

        I have executed this judgment as follows:

               Defendant delivered on                                                     to

        at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                                  UNIlED STATES MARSHAL


                                                                                 By _ _ _ _~~~~~~~~~----
                                                                                               DEPUTY UNITED STATES MARSHAL




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